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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.                     )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )
                                          )     Civil Action. No. 1:17-cv-11008-MLW
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )



JANSSEN’S MEMORANDUM OF LAW IN SUPPORT OF MOTIONS IN LIMINE NOS.
               8-10 REGARDING ECONOMIC DAMAGES




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       Plaintiff Janssen Biotech, Inc. submits the following in limine motions on economic

damages. The Federal Circuit “recognizes two measures of damages: lost profits and reasonable

royalty.” Warsaw Orthopedic, Inc. v. NuVasive, Inc., 778 F.3d 1365, 1374 (Fed. Cir. 2015).

Janssen seeks lost profits damages resulting from Defendants’ infringing use of the patented cell

media to make Inflectra, which is biosimilar to – and which competes with – Janssen’s biologic

drug Remicade. Janssen also seeks a reasonable royalty for any infringement that is not the

subject of any award of lost profits damages.

       In an order of March 3, 2017, the Court rejected Defendants’ contention that lost profits

were not available as a matter of law and indicated that Janssen would be entitled to “reasonably

foreseeable lost profits that it would not have suffered ‘but for’ the defendant's infringement.”

Janssen Biotech, Inc. v. Celltrion Healthcare Co., 239 F. Supp. 3d 328, 330 (D. Mass 2017).

Despite this ruling, Defendants and their experts contend that even if Janssen shows that it would

have gained additional profits but for Defendants’ infringement, it should not be awarded these

lost profits because of the principle of “apportionment.” This contention is contrary to the law

and should not be presented to the jury (MIL No. 8).

       Defendants should also be precluded from introducing evidence or argument that

Janssen’s reasonable royalty case is based on improper “hold up,” as it is appropriate for

reasonable royalties to be calculated based on the economic realities at the time of the date of

first infringement (MIL No. 9). Furthermore, Defendants should be precluded from relying on

evidence of a Pfizer infliximab biosimilar, Ixifi, because they expressly refused to produce

information about Ixifi to Janssen during fact discovery (MIL No. 10). The grounds for these

motions are set forth below.




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Janssen’s Damages MIL No. 8: To Exclude Evidence or Argument that Janssen’s Lost
Profits and Reasonable Royalty Are Subject to Apportionment

       In his export report, Defendants’ expert Dr. Leonard asserts that any lost profits damages

awarded to Janssen should be apportioned to reflect only the “value that the alleged invention

creates for the defendant or patent owner, not value created by other economic factors.” Janssen

MIL Ex. 3 (Leonard Report) ¶ 89. Dr. Leonard’s position is that the damage analysis must

assess the contribution of the cell media to Inflectra’s overall value, in comparison to the value

created by the infliximab molecule and other factors, and should limit Janssen’s lost profits to the

portion of Inflectra’s overall value that is attributable to the cell media. According to Dr.

Leonard, this type of “‘apportionment’ is required as a legal matter to isolate the component to

which the patented technology contributed.” Id. Dr. Leonard’s approach is legally incorrect.

Moreover, Dr. Leonard is advocating an approach that this Court has already rejected.

Defendants should not be permitted to offer evidence or argument on this subject.

       This Court has already rejected the approach Dr. Leonard offers. In its order of March 3,

2017, the Court found that “[a] patentee may recover damages in the form of lost profits to

compensate for sales of an unpatented product (i.e., Remicade) lost to an infringer’s non-

infringing product (i.e., Inflectra), if the infringer could only have captured the patentee’s sales

by infringing the patent by, in this case, using an infringing powder.” Janssen Biotech, 239 F.

Supp. 3d at 331 (citing Micro-Chem., Inc. v. Lextron, Inc., 318 F.3d 1119, 1125−26 (Fed. Cir.

2003); Minco, Inc. v. Combustion Eng’g, 95 F. 3d 1109, 1119 (Fed. Cir. 1996)). The Court made

this finding in response to the same argument by Defendants that damages should be keyed to

some measure of the “intrinsic value of the invention.” 2/23/17 Hr’g Tr. at 141:9; Defs.’ Memo.

of Law Regarding Plaintiff’s Inability to Obtain a Permanent Injunction or Lost Profits Damages,


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Janssen v. Celltrion, No. 15-cv-10698, Dkt.414, at 6 (arguing that the cell culture media does not

drive demand for Inflectra).

          The Court’s ruling recognizes that although Remicade is not itself patented, Janssen is

entitled under the law to seek damages based on the sales of this non-patented product, when

those sales would not have been lost but for Defendants infringement of Janssen’s cell media

patent. This recognition is in accord with black letter law. See Micro-Chem., 318 F.3d at

1125−26 (holding that lost profits damages properly awarded where it was “reasonably

foreseeable” that infringement would cause plaintiff to lose sales on unpatented product); Minco,

95 F. 3d at 1119 (holding damages properly based on sales of unpatented fused silica made using

patented rotary furnace).

          The principle the Court adopted also flows directly from Mentor Graphics Corp. v. EVE-

USA, Inc., 851 F.3d 1275 (Fed. Cir. 2017). In Mentor Graphics, the infringer argued that the

patentee should first “calculate the amount of profits it lost as a result of the infringement” and

then “apportion its lost profits to cover only the patentee’s inventive contribution.” Id. at 1287.

The Federal Circuit disagreed. It held that the proof of two Panduit factors, which often are used

in assessing but-for causation,1 i.e., demand for the patented product and a lack of non-infringing

alternatives, “satisfies principles of apportionment.” Id. at 1288. Where a patentee satisfies

these factors to show but-for causation, that showing sufficiently attributes the appropriate value

to the patent, with no need to further “apportion.” Id.; see also Minco, 95 F.3d at 1119 (holding

that the district court’s finding that plaintiff “had a reasonable probability of making . . . sales

but for the infringement” was sufficient to support lost profits award); Paper Converting Mach.

Co. v. Magna-Graphics Corp., 745 F.2d 11, 22−23 (Fed. Cir. 1984) (declining to further

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    See Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978).
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apportion a lost profits award because the patentee proved it would have made the sales in

question but for the infringing sales). The Federal Circuit also left open the possibility that other

methods of proving but-for damages could also “adequately incorporate[] apportionment

principles.” Mentor Graphics, 851 F.3d at 1288.

       In this case, the Panduit factors need to be adjusted, of course, to reflect the fact that the

relevant demand that causes lost profits is the demand for the non-patented product Remicade,

not the patented product itself. The Court already made that adjustment in its earlier ruling on

this issue and, with that adjustment, Janssen’s damages case fully incorporates apportionment

principles, just as in Mentor Graphics. Thus, at trial Janssen will prove that the ’083 patent

covers the cell media that Celltrion uses – and needs to use – to make Inflectra, a biosimilar to

Remicade that is sold in direct competition with Remicade. The cell medium is not one of many

“components” of Inflectra, but rather is an essential predicate to its existence. It is foundational

to Inflectra’s existence. See Janssen MIL Ex. 3 ¶ 188. Defendants could not have an infliximab

biosimilar without growing it in a particular cell media that has been optimized to make a

biosimilar to Remicade, and as Janssen has demonstrated (and will demonstrate at trial, if

necessary), Defendants did not have an available noninfringing alternative to the cell media

covered by the ’083 patent. See Memo. in Support of Janssen’s Motion for Summary Judgment,

Dkt. 246. Meanwhile, there unquestionably is demand for the product on which Janssen seeks

damages (i.e., Remicade) and whose lost sales and eroded price provide the measure of lost

profits. Janssen’s lost profits claim is premised on its contention, which it will prove at trial, that

Celltrion’s use of the patented cell media to make Inflectra is a but-for cause of the lost profits on

Remicade that Janssen suffers due to Inflectra sales. Such a claim needs to be proved, of course,

but once it is, there is no basis to apply Dr. Leonard’s apportionment principle.

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       The Federal Circuit has applied an “apportionment” requirement only in cases, unlike this

one, where the patent-in-suit covers a particular feature or component of a multi-component

product – e.g., a flashlight app for a cellphone or a variable speed windshield wiper for an

automobile. “[W]here multi-component products are involved” damages must “reflect the value

attributable to the infringing features of the product and no more.” Ericsson, Inc. v. D-Link Sys.,

773 F.3d 1201, 1226 (Fed. Cir. 2014). Therefore, when the “accused infringing products have

both patented and unpatented features” the fact-finder must make “a determination of the value

added by such features.” Id. (emphasis added). In such situations, lost profits for infringing a

patent on the flashlight or windshield wiper are limited to the value that technology adds to the

overall device and should not include the entire value of the cellphone or automobile.

       The cases Dr. Leonard cites to support his “apportionment” theory all address that

inapposite scenario. See Ericsson, 773 F.3d at 1226; VirnetX, Inc. v. Cisco Sys., 767 F.3d 1308,

1326 (Fed. Cir. 2014) (“[W]hen claims are drawn to an individual component of a multi-

component product, it is the exception, not the rule, that damages may be based upon the value

of the multi-component product.”) (emphasis added); LaserDynamics, Inc. v. Quanta Computer,

Inc., 694 F.3d 51, 67 (Fed. Cir. 2012) (applying apportionment requirement to “any case

involving multi-component products”) (emphasis added). None of these cases concerns a

situation where the infringer’s damages-causing product would not exist without use of the

patented technology. The apportionment concept has no application here, where Janssen’s lost

profits case is premised on proving that without Janssen’s patented cell media, Defendants would

have no Inflectra to sell. See Mentor Graphics, 851 F.3d at 1277−78. Dr. Leonard is incorrect

when he asserts that “‘apportionment’ is required as a legal matter” on the facts of this case. See

Janssen MIL Ex. 3 ¶ 89.
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       Dr. Leonard’s report recycles the same argument that this Court already rejected, without

acknowledging the Court’s previous ruling or providing a rationale for departing from it.

Meanwhile, Janssen’s expert Dr. Sean Nicholson prepared a damage analysis in reliance on the

Court’s ruling. Defendants should not be permitted to offer evidence or argument that Janssen’s

lost profits should be apportioned to reflect only the “value” of the patented cell medium as a

portion of Inflectra’s overall value.

Janssen’s Damages MIL No. 9: To Exclude Evidence or Argument that Janssen’s
Reasonable Royalty Analysis Is Based on a “Hold Up”

       In his expert report, Dr. Leonard faults Janssen for basing its reasonable royalty analysis

on an “economic hold up,” based on an alleged “non-recoverable investment in the product”

made by Defendants before they were aware of the ’083 patent. See Janssen MIL Ex. 3 ¶¶ 90,

248; see also id. ¶¶ 134–36. These criticisms of Janssen’s analysis are contrary to settled law –

as Dr. Leonard has acknowledged in his published articles. Moreover, use of the term “hold up”

is pejorative and highly prejudicial and, in any event, should not be used. See Eidos Display,

LLC v. Chi Mei Innolux Corp., 2017 U.S. Dist. LEXIS 157062, at *4 (E.D. Tex. May 26, 2017)

(granting motion in limine to preclude use of the term “hold up” as “[p]erjorative”). See also

WEBSTER’S NINTH NEW COLLEGIATE DICTIONARY (1983) at 575 (defining “hold up” as a

“rob[bery] carried out at gunpoint”); THE AMERICAN HERITAGE DICTIONARY (SECOND COLLEGE

EDITION) (1976) at 616 (defining “hold up” as a “robbery, esp. an armed robbery”).

       Name calling aside, Dr. Leonard contends that it is somehow improper for the

hypothetical negotiation to take into account the negotiating leverage that a patentee may have

due to the defendants’ prior investments – what he calls “hold-up value.” This is not the law.

The problems that the defendant faces at the time of the hypothetical negotiation, from prior


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investments or otherwise, are crucial to fairly analyzing the amount the defendant would agree to

pay in a hypothetical negotiation for the right to practice the patent. Defendants should not be

permitted to offer evidence or argument on their “hold-up” theory.

       It is settled law that, contrary to Dr. Leonard’s argument, a patentee is entitled to obtain

the best price it can negotiate for the use of its invention and that may mean the prospective

licensee has no other choice but to acquiesce to the patentee’s terms. “A patentee’s right to

exclude is a fundamental tenet of patent law.” Edwards Lifesciences. AG v. CoreValve, Inc., 699

F.3d 1305, 1314 (Fed. Cir. 2012) (citations omitted); see 35 U.S.C. § 154(a)(1) (explaining that a

patent grants “the right to exclude others from making, using, offering for sale or selling the

invention”). A patent holder may choose to license its invention on any terms it wishes, or not to

license the patent at all. Cf. Ericsson, 773 F.3d at 1230 (explaining that one of the Georgia-

Pacific factors is the patentee’s “policy . . . to maintain his patent monopoly”) (internal quotation

marks omitted).

       Dr. Leonard characterizes Janssen’s reasonable royalty analysis as a “hold up” because it

relies on the fact that Defendants had made a “non-recoverable investment in the product” before

the date of the hypothetical negotiation, i.e., Defendants already had gone to the expense of

testing and optimizing the infringing cell media and using it to make a biosimilar. See Janssen

MIL Ex. 3 ¶¶ 90, 135. In Dr. Leonard’s view, it is improper for Janssen to take advantage of that

fact in the hypothetical negotiation. But the investment that Defendants had made in developing

the cell media and their biosimilar provides the factual setting for the hypothetical negotiation. It

provides valuable information about the relative strengths of the parties’ bargaining positions in

the hypothetical negotiation and thus helps explain what royalty would be reasonable under the



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circumstances of this case. There is no reason why a jury should ignore these facts, and

considering them does not turn Janssen’s reasonable royalty analysis into a hold up.

       The relative “bargaining positions” of the parties is part and parcel of the reasonable

royalty analysis. Mondis Tech., Ltd. v. Chimei InnoLux Corp., 822 F. Supp. 2d 639, 648 (E.D.

Tex. 2011). In the hypothetical negotiation – as in any negotiation – each side may rely on

factors that strengthen its bargaining position. See, e.g., Fujifilm Corp. v. Benun, 605 F.3d 1366,

1372 (Fed. Cir. 2010) (“Fuji presented testimony that in a hypothetical negotiation is would have

enjoyed a strong bargaining position based on [various factors].”); Imperium IP Holdings

(Cayman), Ltd. v. Samsung Elecs. Co., 2017 U.S. Dist. LEXIS 148485, at *6−7 (E.D. Tex. Sept.

13, 2017) (same); Power Integrations, Inc. v. Fairchild Semiconductor Int’l Inc., 2014 U.S. Dist.

LEXIS 126294, at *18 (N.D. Cal. Sept. 9, 2014) (accepting expert’s conclusion that plaintiff

“would have been in an exceptionally strong bargaining position at the time of the hypothetical

negotiation”). Defendants should not be allowed to accuse Janssen of engaging in a “hold up”

simply because it relies on factors that enhance its bargaining position.

       Dr. Leonard seems to envision the hypothetical negotiation as a one-way street, in which

the infringer can rely on factors that enhance its bargaining position, e.g., the time it would take

to design around the patent, but the patentee cannot do the same. In Dr. Leonard’s analysis, a

patentee in Janssen’s situation would have to negotiate with one hand tied behind its back, by not

relying on factors that enhance its bargaining position, or face accusations that it is engaging in

an impermissible “hold up.” That is not the law.

       Cases have not recognized the “hold-up” concept outside a very narrow situation that is

not present here. The only Federal Circuit cases recognizing that concept address a completely

inapposite situation where a patentee committed to licensing a “standard essential patent,” which
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competitors are required to use to comply with a technological standard, on “reasonable and non-

discriminatory” (“RAND”) terms. Ericsson, 773 F.3d at 1209; see also Realtek Semiconductor

Corp. v. LSI Corp., 2014 U.S. Dist. LEXIS 1171, at *23−24 (C.D. Cal. Jan. 6, 2014) (explaining

hold up and switching costs in the context of RAND licensing for standard-essential patents). In

that scenario, a patentee agrees in advance to license its patents on RAND terms in exchange for

the inclusion of its technology in the relevant standard. If the patentee then attempts to extract an

excessive royalty because its agreement to these terms induced others to agree to the inclusion of

its technology in the standard and make substantial investments to incorporate the patented

technology in their products, pursuant to the standard, the district court may “instruct[] the jury

on patent hold-up or, perhaps, set[] the hypothetical negotiation date before the adoption of the

standard.” Ericsson, 773 F.3d at 1234. The reasoning underlying the “hold-up” concept is

limited to standard-essential patents and has never been applied outside the context of standard-

essential patents. See Astrazeneca AB v. Apotex Corp., 985 F. Supp. 2d 452, 501 (S.D.N.Y.

2013) (explaining that hold up “considerations are simply inapplicable” outside of standard-

essential patent context), rev’d in part on other grounds, 782 F.3d 1324 (Fed. Cir. 2015).

Indeed, the practice of executing RAND commitments in the context of standard-essential

patents demonstrates the recognition that, in the absence of such a commitment, the law would

permit the patentee to use any leverage it has when negotiating a license – including what Dr.

Leonard calls “hold-up value.”

       In his published articles, Dr. Leonard has acknowledged that his “hold-up” theory is not

the law – and in the process used the vastly less pejorative term “lock in” to describe it. For

example, a recent article by Dr. Leonard states that “current law mandates that the date of

hypothetical negotiation be set at the time of first infringement” and as a result “the defendant
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may have incorporated the technology of the patent-in-suit before the patent actually issued” and

may be “‘locked’ into the patented technology.” Janssen MIL Ex. 4 (Gregory K. Leonard et al.,

Patent Damages: What Reforms Are Still Needed?, LANDSLIDE (May/June 2010)) at 39. The

article explains that “[b]eing locked in can weaken the defendant’s negotiating position in the

hypothetical negotiation and increase the royalty that it would be willing to pay. In that case, the

resulting reasonable royalty damage award may incorporate ‘lock-in value’ in addition to the

inherent value of the technology.” Id. The article is critical of that approach, but acknowledges

that it is “mandate[d]” under current law and can be changed only if “Congress may want to

address” it. Id.; see also Janssen MIL Ex. 5 (Elizabeth M. Bailey, Gregory K. Leonard, Mario A.

Lopez, Making Sense of “Apportionment” in Patent Damages, 12 COLUM. SCI. & TECH. L. REV.

255 (2011)) at 271 (explaining that, because the hypothetical negotiation takes place at the date

of first infringement, “the infringer may have previously made large sunk cost investments that

are specific to the patent at issue, making a switch to a non-infringing alternative relatively more

costly”).

       Under settled law, the hypothetical negotiation can take into account the negotiating

leverage that a patentee may have due to the defendants’ prior investments. The only exception

arises in the inapposite situation where a patentee has previously committed to licensing a

standards-essential patent on reasonable and non-discriminatory terms. Defendants should be

barred from offering evidence or argument that Janssen’s position on the hypothetical

negotiation is based on a hold-up or lock-in effect.




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Janssen’s Damages MIL No. 10: To Exclude Evidence or Argument on the Effect of Ixifi on
Janssen’s Damages

       A lost profits analysis typically involves comparing the actual world (in which there was

infringement) with a “but-for” world (where there was no infringement). Versata Software, Inc.

v. SAP Am., Inc., 717 F.3d 1255, 1265 (Fed. Cir. 2013). In his expert report, Dr. Leonard

assumes – without citing anything – that Hospira’s parent corporation, Pfizer, Inc., would have

launched another infliximab biosimilar known as Ixifi in the but-for world in December 2017.

See Janssen MIL Ex. 3 ¶ 233. Dr. Leonard criticizes Dr. Nicholson for not making the same

assumption in his damages analysis. E.g., id. ¶ 216.

       Pfizer obtained FDA approval for Ixifi in December 2017.2 Pfizer and Hospira have not

yet launched Ixifi, and there have been reports that they do not intend to introduce it.3

       Janssen asked for production of documents regarding Ixifi in discovery. Defendants

refused to produce responsive documents. They repeatedly objected to Janssen’s requests for

discovery concerning Ixifi as “irrelevant” and not having “any bearing on the damages issues in

this case.” See Janssen MIL Ex. 8 (letter from G. Sanford to A. Cohen dated April 3, 2018);

Janssen MIL Ex. 9 (letter from E. Cutri to A. Cohen dated Oct. 20, 2017). When Janssen asked

for “All documents concerning the timeline (planned or actual) for [Defendants’] development

and/or commercialization of a biosimilar of Remicade,” Defendants limited their response to

Inflectra only and refused to produce other documents. See Janssen MIL Ex. 10 (Defs.’

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  See Janssen MIL Ex. 6 (“FDA Approves New Pfizer Biosimilar,” Pfizer, December 13, 2017,
https://www.pfizer.com/news/press-release/press-release-detail/fda_approves_new_pfizer_biosimilar
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  See Janssen MIL Ex. 7 (“Pfizer Not Planning US Launch of its Second Remicade Biosimilar Approved
by FDA,” RAPS, December 14, 2017, https://www.raps.org/Regulatory-
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Responses and Objections to Janssen’s First Set of Requests for Production of Documents

Pertaining to Damages (August 14, 2017)) at 15−16. Janssen expressly requested documents

from Hospira’s “parents (including Pfizer, Inc.).” See Janssen MIL Ex. 11 (Janssen’s First Set of

Requests for Production of Documents Pertaining to Damages (July 11, 2017)) ¶ 5. Hospira is a

wholly owned subsidiary of Pfizer, and Pfizer has an identical interest in this litigation to

Hospira. Indeed, Pfizer’s head of patent litigation has repeatedly appeared when the Court

ordered the parties to be present. As a result, documents regarding Ixifi are within Hospira’s

control. See, e.g., Orthoarm, Inc. v. Forestadent USA, Inc., 2007 U.S. Dist. LEXIS 44429, at *6

(E.D. Mo. June 19, 2007) (“[N]umerous courts have found that the documents of a parent

company are within the ‘control’ of a subsidiary . . . .”); Afros S.P.A. v. Krauss-Maffei Corp.,

113 F.R.D. 127, 130 (D. Del. 1986) (“Courts have also ordered discovery of documents held by

another corporation where there is a parent-subsidiary relationship.”); Soletanche & Rodio, Inc.

v. Brown & Lambrecht Earth Movers, Inc., 99 F.R.D. 269, 272 (N.D. Ill. 1983) (ordering

discovery of documents held by a parent corporation given “the identity of interests in this

litigation” which “satisfies any showing of control which might be necessary”).

       Because Defendants refused to produce any documents concerning Ixifi, we are left

guessing why Pfizer/Hospira have not commercialized that product. Perhaps they decided not to

introduce Ixifi because Hospira is already selling another infliximab biosimilar (Inflectra), as Dr.

Leonard assumes. Or perhaps they have not introduced Ixifi for some other reason that is

completely unrelated to Inflectra – because of manufacturing problems, or because Ixifi is made

using an infringing cell medium, or because they have concluded it is an inferior product, or for

some other reason. We can only guess why Ixifi has not been introduced because Defendants

refused to provide discovery on that issue.
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       Defendants cannot refuse to provide discovery on Ixifi and then have their expert

speculate about outcomes that could be proven (or disproven) using information within their

possession or control that they refused to produce. See, e.g., N.J. Physicians United Reciprocal

Exch. v. Boynton & Boynton, Inc., 2017 U.S. Dist. LEXIS 134899, at *37 (D.N.J. Aug. 23, 2017)

(explaining that party was obligated to “produce all information it intended to rely on” in its

damages case and that it was precluded from relying on “any unproduced information, including

through its expert”). Defendants should be barred from offering evidence or argument that

Pfizer/Hospira would have introduced Ixifi in the but-for world.

                                         CONCLUSION

       This Court should grant Janssen’s in limine motions on economic damages.




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                                         Respectfully Submitted,
Dated: May 18, 2018
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                                   CERTIFICATE OF SERVICE
        I certify that on May 18, 2018, this document, filed through the Court’s ECF system, will
be sent electronically to the parties or their counsel who are registered participants as identified
on the Notice of Electronic Filing.


                                                      /s/ Alison C. Casey__________
